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                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                )       CASE NO. 1:13cr345-27
                                         )
                                         )
                     Plaintiff,          )       JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
JERMAINE D. GRAYSON,                     )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge McHargh to Count One in the Indictment. The Court finds that

the Defendant’s proffer of guilt was made under oath knowingly, intelligently and

voluntarily and that all requirements imposed by the United States Constitution and

Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the Report and

Recommendation of Magistrate Judge McHargh, approves the plea agreement, accepts

the Defendant’s offer of guilt and finds the Defendant guilty as charged in the Indictment.

      The signed Plea Agreement shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 9/16/2014                                  CHRISTOPHER A. BOYKO
                                                United States District Judge
